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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA, et al.

                      Plaintiffs,

                     v.                     Civil Action No. 1:23-cv-10511-
                                            WGY
JETBLUE AIRWAYS CORPORATION and
SPIRIT AIRLINES, INC.

                      Defendants.


                     DEFENDANTS’ PRETRIAL BRIEF
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                                             INTRODUCTION

          JetBlue’s acquisition of Spirit will enhance competition by strengthening one of the most

disruptive and innovative companies in the history of the airline industry, JetBlue, and expanding

its ability to bring lower fares and award-winning service to more consumers in more communities

across the United States. JetBlue and Spirit are just the sixth and seventh largest domestic airlines,

respectively, and they are a fraction of the size of each of the Big Four (American, Delta, United,

and Southwest). Through its acquisition of Spirit, JetBlue will become a fifth national competitor

that will still be significantly smaller than the smallest of the Big Four, with less than 10% market

share. But armed with a larger footprint and fleet, the new JetBlue will force its larger rivals to

compete harder to win the business of the traveling public, injecting substantial systemwide

competition into an industry in need of a competitive shake up.

          The Government nevertheless claims the merger of these two small airlines is likely to

substantially lessen competition under Section 7 of the Clayton Act. The Government’s Section 7

challenge is based on a newfound view of JetBlue that departs from its prior positions. Less than

a year ago, in this very courthouse, the Government exalted JetBlue’s uniquely disruptive role in

the airline industry. As the Government explained, JetBlue is an industry “maverick,” offering a

“unique” blend of low fares and high-quality service that has enabled it to “compete effectively

against the legacy airlines in ways other [low cost carriers] and [ultra low cost carriers] could not.” 1

The Government celebrated that, because of JetBlue’s uniquely disciplining force, consumers have

saved billions of dollars. 2



1
 Plaintiffs’ Proposed Findings of Fact at ¶ 27 United States v. Am. Airlines Grp. Inc., No. 1:21-cv-11558 (D. Mass.
Dec. 2, 2022), ECF No. 332 (“NEA Pls. Proposed FoF”); Plaintiffs’ Post-Trial Brief at 37, United States v. Am.
Airlines Grp. Inc., No. 1:21-cv-11558 (D. Mass.) (Dec. 2, 2022), ECF No. 333 (“NEA Post-Trial Brief”) (describing
JetBlue as a “maverick” in the airline industry).
2
    NEA Pls. Proposed FoF ¶ 167.


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            Now, the Government attempts to downplay JetBlue’s disruptive force and to thwart a

transaction that would allow JetBlue to expand its disruptive effect and generate billions of dollars

in additional consumer savings. In so doing, the Government departs from its long-standing

practice of evaluating airline mergers holistically. 3 In particular, the Government has jettisoned

the commonsense view that divestitures of slots and gates in airline mergers (like those

contractually agreed to here) are sufficient to resolve competitive concerns where they mitigate

increased airport-level concentration from a merger and create more low-cost competition across

the dynamic airline ecosystem. 4 But the Government’s new approach is impractical, does not

comport with the commercial realities of the airline industry, and would render unlawful almost

any conceivable airline merger without regard for the overall competitive impact and benefits it

could bring to consumers systemwide. This approach, and the Government’s Section 7 challenge,

should be rejected for multiple reasons.

            First, the Court must consider the commercial realities of the airline industry, and the

specific context of this transaction, in choosing the correct relevant market in which to evaluate

the future competitive effects of this merger. United States v. U.S. Sugar, 2022 WL 4544025 (D.

Del. Sept. 28, 2022); see also United States v. General Dynamics Corp., 415 U.S. 486, 498 (1974)

(“Congress indicated plainly that a merger had to be functionally viewed, in the context of its

particular industry.” (citations omitted)). Here, the commercial realities favor a broad, holistic



3
  Response of Plaintiff United States to Public Comments on the Proposed Final Judgment at 30, United States v. US
Airways Grp., Inc., No. 1:13-cv-01236 (D.D.C. Mar. 10, 2014), ECF No. 159 (“the United States’ primary concerns
with this transaction were broad in nature and the proposed remedy reasonably addresses those broad competitive
issues even if it does not seek to precisely match harm on a route-by-route basis”); Dep’t of Justice, Press Release
No. 11-523, Statement of the Department of Justice Antitrust Division on Its Decision to Close Its Investigation of
Southwest's Acquisition of Airtran (Apr. 26, 2011) [link]; Dep’t of Justice, Press Release No. 8-963, Statement of the
Department of Justice’s Antitrust Division on Its Decision to Close Its Investigation of the Merger of Delta Air Lines
Inc. and Northwest Airlines Corporation (Oct. 29, 2008) [link].
4
    Id. at 8.


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assessment of the impact of this merger. To begin with, people and planes are mobile. Consumers

fly to different destinations at different times for different reasons. Airlines move planes from

airport-to-airport and route-to-route in response to ever-changing shifts in American demand for

air travel. And airlines compete at the national level with respect to network strategies, brand and

business model, fare class structure, ancillary fee strategies (e.g., checked bag fees, seat selection

fees), loyalty programs, co-branded credit-cards, and aircraft layout and amenities (e.g., more

legroom or less). Contrary to the Government’s claim, the fact that airlines compete at the route

level does not mean that the competitive implications of this merger are best judged by examining

individual routes in isolation. United States v. Grinnell Corp., 384 U.S. 563, 575 (1966). That is

particularly true in this case, where the Government and Defendants agree the crux of this merger

challenge is whether it is good for competition to transform Spirit’s planes and assets into JetBlue’s

uniquely disruptive model systemwide.

       Second, even if the effects of this merger are examined narrowly and mechanically on a

route-by-route basis, as the Government requests, the Section 7 challenge fails. The Government

relies on static, snapshot-in-time market share statistics from a year ago on specific routes—

primarily, 51 nonstop routes (out of the thousands of nonstop routes across the country) where

JetBlue and Spirit “overlapped.” But these market shares do not account for the fact that entry,

exit, and expansion on routes are everyday occurrences in the airline industry. Nor do they account

for the commercial realities of the airline industry (discussed above) or Defendants’ divestitures

of slots and gates to ultra-low-cost carriers at key airports. Indeed, due to ordinary course changes

in their networks, JetBlue and Spirit no longer overlap on 6 of the 51 routes. Thus, any

“presumption” of future harm based on these static market shares is unreliable. United States v.

Baker Hughes Inc., 908 F.2d 981, 991 (D.C. Cir. 1990) (defendants rebut the presumption by



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showing that current market shares “inaccurately predict[] the relevant transaction’s probable

effect on future competition”).

           More specifically, as one third party airline executive testified, “airlines are extremely

efficient market makers” because “aircraft can be moved with the next schedule change” and

therefore capacity “flow[s] to the greatest opportunities.” 5 The most recent court to adjudicate an

airline merger challenge agreed. See In re AMR Corp., 625 B.R. 215, 254-55 (S.D.N.Y. B.R.

2021), aff’d 2023 WL 2563897 (2d Cir. 2023) (rejecting Section 7 challenge to an airline merger,

finding among other things that static route-level market shares could not accurately capture the

dynamic nature of the airline industry or broader network level competition). Simply put, the law

does not require Defendants to prove that competition will be replicated on the same routes Spirit

flies today in the same way and to the same degree. Defendants cannot be required to “rebut a

probability with a certainty.” Baker Hughes, 908 F.2d at 992. In the fluid airline industry, that

standard is unattainable, and there is no law to support it.

           Third, the merger will give rise to nationwide procompetitive effects—not anticompetitive

“unilateral effects” as the Government claims. With more planes and a far broader network,

JetBlue will spread its uniquely strong competitive effect to more legacy-dominated routes,

lowering its rivals’ fares and improving the quality of their product along the way. And unbundled,

no-frills service will continue to be available in spades for those consumers who want it. Indeed,

in just the next few years, Spirit’s numerous ULCC rivals will add many more aircraft to their

fleets. And they are eager to seize any profit opportunities, including by flying routes Spirit has

“proven” to be successful for the ULCC model.




5
    Biffle (Frontier) Dep. Tr. 125:3-8.


                                                   4
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        Fourth, there is no basis for the Government’s claim that this transaction will increase any

anticompetitive coordination among the airlines. Far from being a coordinator with the dominant

airlines, the Government in this Court recently touted JetBlue as these airlines’ competitive “foil”

and the antidote to the legacy airlines’ alleged coordination. 6 Judge Sorokin agreed. United States

v. Am. Airlines Grp. Inc., 2023 WL 3560430, at *34 n.81 (D. Mass. May 19, 2023) (“The parties

all agree, and the Court finds, that JetBlue has played a unique role in the domestic air travel

industry and qualifies as a ‘maverick’ competitor for present purposes.”). It strains credulity to

suggest that, if JetBlue grows from a 5% national player into an 8% national player through this

merger, it will suddenly reverse course and change its entire business model from disruptor to

coordinator. As the evidence will show, the opposite is true: with a larger, nationwide footprint,

JetBlue will disrupt any industry coordination on a much broader scale.

        Defendants respectfully request that this Court resist the Government’s unduly narrow and

cramped approach and evaluate the effects of this merger under the “totality-of-the-

circumstances,” accounting for the “commercial realities” of the airline industry and the specifics

of this proposed merger. See New York v. Deutsche Telekom AG, 439 F. Supp. 3d 179 (S.D.N.Y.

2020). As the totality of the evidence will show, this merger will not substantially lessen

competition in violation of Section 7, but will instead increase it improving consumer welfare

overall. The Government’s Section 7 challenge should be rejected.

                                         STATEMENT OF FACTS
Background

        The “Big Four” airlines—and particularly the “legacy” carriers (United, American, and

Delta)—have long dominated the US airline industry. The legacy airlines are JetBlue’s primary


6
 NEA Plaintiffs’ Pre-Trial Brief, United States v. Am. Airlines Grp. Inc. at 8, No. 1:21-cv-11558 (D. Mass.) (Sept.
9, 2022) ECF No. 160, at 7.


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competitors, and they enjoy tremendous scale and scope advantages: they have extensive national

and international networks, connections to thousands of destinations, vast fleets of aircraft,

enormous stables of pilots, strong frequent-flier and co-branded credit card programs, and outsized

access to gates, slots, and other critical assets at key airports. These advantages give them an

overwhelming advantage in competing for the business of the traveling public. They are the

goliaths of the airline sector. And the evidence at trial will show they wield their significant market

power to foreclose competition from smaller airlines wherever possible. 7

          JetBlue, in contrast, is a uniquely disruptive airline that has forced the legacies to compete

more aggressively, especially in the Northeast United States. For years, the Government has touted

JetBlue’s unique low-cost, high-quality offering as the solution to the legacies’ industry

stranglehold, promoting JetBlue growth as a way to improve competition systemwide. 8 Indeed,

less than a year ago, the Government explained to this Court how JetBlue has “differentiated itself

from other low-cost airlines by offering not only low fares, but also high-quality service,” and that

“[t]here is no obvious replacement for the value proposition that JetBlue provides.” 9

          But JetBlue’s ability to disrupt the domestic airline market is currently limited by its small

size. Though it is an important source of competition on the routes it flies, JetBlue flies to far

fewer destinations than the legacies (due to its much smaller network and fleet), which limits its

overall competitive impact. 10 Moreover, the airline business today is about much more than flying


7
 Complaint at ¶¶ 23–28, United States v. Am. Airlines Grp. Inc., No. 1:21-cv-11558 (D. Mass. Sept. 21, 2021), ECF
No. 1 (“NEA Complaint”).
8
 See Competitive Impact Statement at 5, 9, United States of America v. U.S. Airways Group, Inc., No. 13-cv-01236
(D.D.C. Nov. 12, 2013), ECF No. 148.
9
    NEA Pls. Proposed FoF ¶¶ 24, 320.
10
  See infra notes 44–45 and accompanying text; see also Am. Compl. at ¶ 3, United States of America v. U.S.
Airways Group, Inc., No. 13-cv-01236-CKK (D.D.C. Nov. 12, 2013), ECF No. 73 (“DOJ American/US Airways
Complaint”) (“Southwest and JetBlue, [despite] offering important competition on the routes they fly, have less
extensive domestic and international route networks than the legacy airlines.”).


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passengers from A to B. Airlines now operate massive loyalty programs, offer lucrative co-

branded credit cards, and sell vacation packages and travel products. Despite offering a generous

loyalty program, JetBlue is less attractive for frequent fliers who are attracted to the much larger

legacy networks. 11 Indeed, Delta’s loyalty program alone is valued at billions of dollars—more

than JetBlue’s value as an entire company. 12

           Spirit and the other ultra-low-cost carriers (“ULCCs”) have even less of an impact on the

legacies. ULCCs represent approximately 10% of the domestic airline industry and target travelers

seeking the lowest base fares with their “unbundled” product offerings. The legacies compete with

ULCCs primarily for the limited number of customers who choose the legacies’ “Basic Economy”

offering. 13     They do not with compete with ULCCs for business travelers, for first-class

passengers, for passengers flying to Europe, and for many passengers who simply do not want a

ULCC experience—according to the Government, a lower-quality experience.

           In contrast, when JetBlue enters a route, the legacies (and other airlines) strongly react

because they would otherwise lose significant business. JetBlue competes against the legacies

across its cabin for a broader range of customers, leisure and business, flying within the United

States and now to Europe. Thus, JetBlue’s entry on a route benefits virtually every passenger

flying the route who now pays lower fares, regardless of which airline they fly.

           Organic growth of the sort needed to mount a national challenge to the legacies would take

decades. For example, it has taken JetBlue over twenty years of full-throated competition to eke



11
  See, e.g., Ex. PS [JBLU-DOJ-09976407] (June 2021 JetBlue “Evolution to a Travel Company” document) at
‘438–440 (comparing loyalty programs of JetBlue and the legacies and explaining how meaningful loyalty
competition is inhibited by the legacies’ size and networks).
12
  Ex. PS [JBLU-DOJ-09976407] (June 2021 JetBlue “Evolution to a Travel Company” document) at ‘479
(explaining Delta’s financial performance as part of a competitor deep dive).
13
     Ex. BEB [AA-23LIT-00000021] (June 2021 American “Basic Economy” slide deck) at ‘032.


                                                      7
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out a five percent market share. Frontier’s CEO estimates that it would take JetBlue at least twenty

more years to achieve organically the scale it could obtain through the proposed transaction. 14 In

the meantime, competition up and down the legacies’ cabin is in short supply, to the detriment of

the tens of millions of consumers who must depend on those airlines for most of their travel needs.

           JetBlue’s merger with Spirit would turbocharge JetBlue’s growth and create a stronger fifth

national player in the domestic airline market. By arming JetBlue with a larger network and fleet,

the legacies will be forced to compete with JetBlue’s value proposition on more routes. This means

not only lower fares, but network-wide improvements to product and service quality, including

with respect to on-board service and legroom, the quality and generosity of frequent-flier

programs, in-flight entertainment, and connectivity—all categories in which JetBlue is an industry

leader but has had a more limited effect on the legacies due to its smaller network.

Overview of the Airline Industry

           There are at least 13 US airlines that offer commercial air service. Whether measured by

revenue or capacity, JetBlue and Spirit, individually and combined, are a fraction of the size of

even the smallest legacy carrier. Defendants’ economic expert, Dr. Nicholas Hill, PhD, illustrated

this point in Figure 22 of his opening report (shown below in bar chart format):




14
     Biffle (Frontier) Dep. Tr. 161:5-20.


                                                    8
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While each of these airlines has its own competitive strategy, they are often grouped into three

segments according to their choice of business model: 15

         Legacy or Network Carriers. American, Delta, and United operate “hub-and-spoke”

networks that consolidate operations at specific airports or “hubs” from which many “spoke” cities

are served. They offer a premium cabin, at least 30 inches of seat pitch 16 (i.e., the industry average

or better), a range of on-board entertainment and connectivity options, exclusive airport lounges,

and extensive international service. 17 They also tend to charge the highest fares in the industry.




 There are also a number of foreign carriers that can carry passengers from a foreign country to a location in the
15

United States, but because of federal law, cannot carry passengers within the United States.
16
  Seat “pitch,” an industry term, is the distance between the same points on two consecutive seats. More pitch
generally means more legroom.
17
  See Rebuttal Expert Report of Nicholas Hill, PhD, at ¶ 29 (Aug. 3, 2023) (“Hill Rep’t”); Ex. PS [JBLU-DOJ-
09976407] (June 2021 JetBlue “Evolution to a Travel Company” document) at ’879-80; Ex. BPW [JBLU-DOJ-
02427738] (JetBlue 2021 Discrete Choice Analysis deck) at ‘748, ‘801.


                                                          9
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The legacies’ key differentiator, however, is their vast networks, which allow them to take

customers from “anywhere to everywhere” in ways other airlines cannot. 18

           Low-Cost-Carriers or “LCCs”. Southwest, JetBlue, and Alaska typically offer lower fares

than the legacies and minimize operating costs by, for example, using fewer varieties of aircraft

and carefully controlling costs.            In addition, Southwest and JetBlue operate point-to-point

networks, which are largely designed to support nonstop service, less complex, and more cost-

efficient to operate.

           Southwest, the smallest of the “Big Four” (i.e., Southwest and the three legacy carriers) by

revenue, is the largest low-cost carrier in the United States and the world. Southwest only offers

economy class 19 and focuses primarily on leisure and small business travelers. JetBlue, in contrast,

offers multiple classes of services, from basic economy to Mint, its premium offering. While its

on-board experience is in many ways superior to the legacies (e.g., more legroom, free high-speed

WiFi), JetBlue offers that experience at a lower overall price point than the legacies. Alaska

operates a West Coast-focused hub-and-spoke network and offers multiple classes of service.

           Ultra-Low-Cost Carriers or “ULCCs”. Spirit, Frontier, Allegiant, Avelo, Breeze, and Sun

Country offer low base fares and an “unbundled” product that requires passengers to pay extra for

things like printed tickets, WiFi, in-flight entertainment, in-flight food and drinks, online bookings,

and carry-on bags. 20 Low operational costs are the crux of the ULCC model. The result, in the

words of the Government, is a “lower quality product” characterized by “having very little legroom


18
  See, e.g., Nocella (United) Dep. Tr. 16:10-16 (explaining how hub and spoke model allows United to keep
“between 30 and 80 aircraft on the ground at the same time,” which enables “efficient[] connections”); see also In re
AMR Corp., 625 B.R. 215, 232 (Bankr. S.D.N.Y. 2021) (explaining how the hub-and-spoke model “enables network
carriers to provide an ‘anywhere to everywhere’ service, allowing them to offer routes to smaller cities or regions
that would not otherwise be economical to serve and increasing the number of options available for consumers”).
19
     See Hill Rep’t ¶ 36.
20
     See Wells (Allegiant) Dep. Tr. 273:17-22.


                                                         10
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and less comfortable seats.” 21 The ULCCs generally operate point-to-point networks and maintain

nimble network plans that allow for rapid entry and expansion into routes that are either unserved

or underserved by other ULCCs. 22

           Competition Among Airlines. Competition in the airline industry takes place on many

dimensions and levels. Airlines compete with respect to the price of a ticket, passenger comfort,

nonstop versus connecting flights, convenience of flight schedules, choices for classes of service,

number of destinations served, the quality and generosity of frequent-flier and credit card

programs, baggage and seating policies, in-flight entertainment, in-flight meal and drink service,

and the degree of customer service extended during flight and at the airport.

           From a geographic perspective, airlines also compete at different levels of the industry

including at the network level, the city or airport level, and the route level. Many of the strategic

decisions that drive competition in the airline industry are made at the network or national level.

For example, all airlines engage in continuous network planning to determine how to deploy their

fleets, which destinations they will serve, and how they will serve them (e.g., the number of flights,

nonstop vs. connecting service). 23 They also choose their business model (e.g., LCC, ULCC, or

somewhere in between) and make decisions about the quality of on-board service at the network

level. And airlines’ decisions regarding the quality and generosity of loyalty programs, ancillary

fee policies, fare classes, and aircraft purchasing and design are all determined at the network level.

At the city level, airlines also compete to establish brand recognition and relevance through their




21
     NEA Pls. Proposed FoF ¶ 11.
22
     See, e.g., Biffle (Frontier) Dep. Tr. 136:23-138:9.
23
   See generally Ex. 146 [JBLU_MERGER_LIT-01583421] (Sept. 2016 JetBlue Quarterly Network Review); Ex.
180 [JBLU-LIT-02827597] (April 2017 JetBlue Quarterly Network Review); Ex. AYT [JBLU-DOJ-01045858]
(July 2019 JetBlue Quarterly Network Review).


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presence at local airports, which also involves competition for gates, landing slots, and other

constrained airport resources.

         Competition takes place at the route level, too. For instance, a Boston-based customer who

wishes to visit her family in Orlando may review available flight offerings and prices for that

specific route when purchasing a ticket. But the attractiveness of the individual airline offerings—

for example, the number and time of flights offered on that route, or whether she can sit in a

comfortable seat, use her laptop, access in-flight entertainment, or use loyalty points—is the

product of network-level competition. Simply put, route-level competition does not occur in a

vacuum; it is necessarily affected by national and city-level competition. An examination of

competition that fails to account for these broader aspects of competition would thus provide a

misleading impression of the competitive dynamics in the airline industry.

         Competition in the airline industry is fluid, particularly at the route level. Airplanes are

mobile, and carriers are constantly adjusting the routes they fly in response to ever-changing

competitive dynamics. Airlines maintain network planning teams that regularly evaluate entry,

expansion, and exit opportunities across their networks. And network planners move capacity to

new markets and exit markets to capture margin on a constant basis. 24 This fluidity is particularly

pronounced in the ULCC segment. ULCCs are generally opportunistic, quickly and frequently

entering and exiting routes in response to changes in consumer demand and competitor supply. 25




24
  See, e.g., Biffle (Frontier) Dep. Tr. 125:3-11, 126:11-129:4; Ex. BPR [JBLU_MERGER_LIT-01727660] (April
2023 JetBlue Competitive Schedule Change email, summarizing weekly system-level changes in capacity).
Defendants will show that this leads to a “dynamic” industry where “a pattern of entry and exit [on routes is]
commonplace.” Hill (Vol. I) Dep. Tr. 274:2–5.
25
   See, e.g., Yealy (Avelo) Dep. Tr. 120:14-121:7 (“[W]e pride ourselves on [our] start-up mentality, being flexible,
and nimble.”); Neeleman (Breeze) Dep. Tr. 187-88 (explaining Breeze’s business strategy of maintaining low costs
and a “nimble” network).


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Because ULCCs usually fly fewer frequencies on a route, they can more easily exit routes to pursue

more profitable opportunities.

           Allegiant, Frontier, Breeze, Avelo, and Sun Country—all of which provide a similar

offering to Spirit—have large order books that, in the aggregate, substantially exceed the number

of planes Spirit has on order. 26 These airlines could replace any unmet demand for the type of

unbundled product Spirit offers after the merger, and their executives have testified they are ready

to do so if this merger is approved. 27

The Merging Parties

           JetBlue. JetBlue is the sixth largest US airline, accounting for less than 5% of capacity

in the national airline market. As of 2019, approximately 75% of JetBlue’s operations were in

the New York/Boston area. 28 JetBlue launched in 2000 as a low-cost carrier with the mission to

disrupt the airline status quo and “bring humanity back to air travel.” 29 Consistent with this

mission, JetBlue’s approach to air travel rests on a simple principle: consumer value. That is,

JetBlue believes air travelers should not have to choose between a high-quality product, award-

winning customer service, and low fares; JetBlue customers get all three.

           While JetBlue and the ULCCs garner similar pricing perceptions from customers, JetBlue



26
  See Ex. 71 [B6NK-TX-00014097] (Frontier 2022 10-K), at 11 (detailing Frontier’s plans to acquire 101 additional
planes by 2029); Ex. 70 [B6NK-TX-00014000] (Allegiant 2022 10-K), at 8 (Allegiant purchased “50 newly
manufactured 737MAX aircraft scheduled to be delivered in 2023 to 2025 with options to purchase an additional 50
737MAX aircraft”); Ex. 184 [JBLU_MERGER_LIT-02737803] (Sun Country 2022 10-K), at 13–15 (detailing Sun
Country’s recent and future fleet acquisitions); Yealy (Avelo) Dep. Tr. 121:16-122:24 (explaining Avelo fleet
projections); Ex. BNC [B6NK-CM-00006884] (Breeze CID Responses) at ‘889 (listing planned deliveries through
2026).
27
  See, e.g., Yealy (Avelo) Dep. at 32:16-33:12 (explaining Avelo’s interest in flying routes that Spirit exited); D.
Neeleman (Breeze) Dep. Tr. 158:7-160:15 (explaining Breeze’s desire to backfill routes that Spirit exits); Biffle
(Frontier) LIT Dep. at 126:11-128:5 (describing Frontier’s “flexibility and scale” to backfill Spirit).
28
     Hill Rep’t at Figure 2; NEA Pls. Proposed FoF ¶ 369.
29
  Ex. AYX [JBLU-DOJ-02571221] (2022 JetBlue Crewmember Orientation deck), at ‘226 (deck slide with
JetBlue’s “founding mission”).


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“breaks away in value,” making it the “customer favorite” for air travel. 30 JetBlue offers the most

legroom in the industry, with an average of 33 inches of seat pitch in economy class. 31 JetBlue’s

on-board product also ushered in a new era of in-flight comfort. Every consumer who buys a

JetBlue ticket—regardless what fare class they purchase, where they fly, or how often they fly

JetBlue—gets, at minimum: free high-speed WiFi; free in-flight entertainment on seatback

screens; free unlimited snacks and drinks in-flight; free advance seat selection; USB ports and

power outlets at their seat; and the ability to accrue and redeem loyalty points for perks throughout

their booking and flight experience. 32 And JetBlue gives customers all of these benefits while

keeping its fares well below the fares of legacy carriers. 33 Competitors, third-party research

reports, and dozens of customer-driven awards consistently rank JetBlue at or near the top in terms

of customer experience; ULCCs are often at the bottom. 34

         Through its competitive fares and a consumer-centric model, JetBlue has carved out a

“sweet spot” in the airline industry. It competes with both the larger legacies and the lower-cost



30
  See [AA-NEA-00071225] at ‘227 (“JetBlue is the only carrier offering free internet for all customers making it
the ‘customer favorite’”); Ex. BNH [DAL-00007216] (2022 Delta Competitive Experience Snapshot), at ‘216
(“[Spirit, JetBlue, and Frontier] garner similar pricing perceptions yet jetBlue breaks away in value”).
31
  Ex. BPW [JBLU-DOJ-02427738] (JetBlue 2021 Discrete Choice Analysis deck), at ‘748, ‘801; Hill Rep’t at
Figure 28.
32
  Ex. BPW [JBLU-DOJ-02427738] (JetBlue 2021 Discrete Choice Analysis deck), at ‘748. See generally Hill
Rep’t § 6 (comparing JetBlue and Spirit products). JetBlue provides all customers free advanced seat selection 24
hours prior to takeoff, and free seat selection (at any point prior to the flight) for all fare classes except Blue Basic.
33
  Hill Rep’t at Figure 1. JetBlue’s fares are essentially the same as Southwest’s but offers customers a significantly
higher quality travel experience than Southwest.
34
  See, e.g., Ex. BNH [DAL-00007216] (Q1 2022 Delta Competitive Experience Snapshot), at ‘216 (explaining that
JetBlue has a “commanding lead” in the “helpful crew” and “friendly crew” customer rankings compared to Frontier
and Spirit); Ex. AWL [JBLU_MERGER_LIT-00448335] (March 2021 “JetBlue Segmentation” slide deck) at ‘370–
71; JetBlue, Press Release: JetBlue Awarded Twelfth Consecutive Customer Satisfaction Honor by J.D. Power (May
11, 2016) [link]; J.D. Power, North American Airline Passenger Satisfaction Declines: Here’s Why That’s Good
News, Says J.D. Power (May 11, 2022) [link]; Meena Thiruvengadam, JetBlue Is the Best U.S. Airline in 2021,
According to T+L Readers — Here's Why, Travel & Leisure (Sept. 8, 2021) [link]; see also JetBlue Airways 2020
Schedule 14A Proxy Statement [link] at 11 (Apr. 3, 2020) (listing 2019 recognitions for JetBlue crewmembers’
“industry leading customer service”).


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airlines for all air travelers. 35 As a result, JetBlue attracts customers across the entire spectrum of

the traveling public—from those interested primarily in affordable travel to those interested

primarily in comfortable travel that would have otherwise flown with the legacies. In the words

of airline industry veteran and current CEO of Breeze Airways, David Neeleman, “there’s no one

that I know of that wouldn’t fly on JetBlue.” 36

           While JetBlue’s sweet spot strategy allows it to compete against all carriers, its biggest

competitors by a significant margin are the Big Four and particularly the legacies, as depicted

below. Figure 24 of Dr. Hill’s opening report shows the percentage of revenue earned by all

carriers who serve JetBlue’s nonstop routes:




            JetBlue does compete with Spirit and the other ULCCs, but to a lesser extent than its larger

rivals. Because of JetBlue's unique blend of low prices and high quality, JetBlue competes for all


35
  Ex. AYX [JBLU-DOJ-02571221] (2022 JetBlue Crewmember Orientation deck), at ‘228 (slide showing the
“industry landscape in 2000”).
36
     Neeleman (Breeze) Dep. Tr. 136:3-7.


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types of leisure travelers and all types of business travelers within its network, whereas ULCCs

primarily compete for the set of leisure customers who are looking for a no-frills unbundled

offering.

       While Spirit and JetBlue do overlap geographically, there are significant differences in

their network focus. Approximately 75% of JetBlue’s routes touch New York or Boston airports,

where Spirit is a small player. JetBlue has increasingly been adding transatlantic flying. Spirit

has no similar offering. Given Spirit’s near exclusive focus on leisure travel, the competition that

does exist between JetBlue and Spirit is primarily in areas like Florida and the Caribbean.

       JetBlue’s “sweet spot” strategy has made it a uniquely disruptive competitor in the airline

industry. In 2013, the Massachusetts Institute of Technology coined the term “JetBlue Effect” in

a study showing that in 2012, JetBlue had the largest fare-lowering and traffic-stimulating effect

(i.e., more people flew because JetBlue caused prices to come down) of any LCC or ULCC in the

industry. The JetBlue Effect is a product of JetBlue’s low-cost, high-quality offering that forces

competitors to reduce fares, improve service and product quality, and increase capacity to satisfy

new demand and remain competitive with JetBlue. As the Government recognized in the litigation

concerning the Northeast Alliance (“NEA Case”), JetBlue’s impact in Boston has been particularly

pronounced, saving consumers billions of dollars. The following is a slide from the Government’s

opening statement in that case:




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           The Government likewise recognized that the benefits of the JetBlue Effect are felt by all

air travelers, “whether or not they fl[y] on JetBlue.” 37 Competition from JetBlue, in the words of

the Government, “resulted in higher-quality service offered by legacy airlines,” more fare options,

and lower ancillary fees. 38 For instance, when JetBlue announced it was eliminating its change

fee in June 2020, American commented that it had “no choice” but do to the same. 39 Similarly,

JetBlue’s introduction of its business-class Mint product caused the legacy airlines to improve

their premium cabins throughout their fleet, not just on the routes that overlapped with JetBlue. 40

Just last month, Delta announced changes to its loyalty program that were met with an unfavorable




37
     NEA Pls. Proposed FoF ¶ 53.
38
     NEA Pls. Proposed FoF ¶¶ 37–41.
39
     NEA Pls. Proposed FoF ¶ 39 (citing [AA-NEA-00244444] (June 2020 American email) at ‘444).
40
     NEA Pls. Proposed FoF ¶ 41 (“Competitors have copied elements of JetBlue’s Mint product.”)


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reaction from consumers. After JetBlue and other airlines started targeting Delta loyalists by

offering status matches, 41 Delta announced it would revisit aspects of this policy change. 42

           Still, JetBlue’s small market share necessarily limits the scope and efficacy of the JetBlue

Effect. By any measure, JetBlue is dwarfed by the legacies. For instance, as of year-end 2022,

American had 1,461 aircraft in its fleet, while JetBlue had 290. 43 Likewise, Delta serves nearly

four times as many destinations as JetBlue. 44 The legacies’ size also gives them an enormous

loyalty advantage over JetBlue and other airlines: customers are more likely to choose a legacy

loyalty program because they can use the rewards to go to more places. In short, the industry has

not yet seen the full competitive potential of JetBlue—potential that would be unlocked by this

merger.

           Spirit. Spirit transitioned to a ULCC model in 2006, becoming the first domestic airline to

charge for carry-on bags in 2009.45                    Currently Spirit is the seventh largest airline with

approximately a 4% market share based on revenue, and only a slightly larger share when

measured by capacity. 46 Spirit offers an “unbundled” product, meaning that a customer who

purchases a ticket on Spirit must pay an additional amount for many things that non-ULCC airlines

include in the base fare, such as carry-on bags, seat selection, WiFi, water and other beverages,

boarding pass printing, and online ticket purchasing. 47 Spirit also offers an average of 28 inches


41
   See, e.g., David Slotnick, The Points Guy, JetBlue offers status match to Delta flyers on heels of SkyMiles
devaluation (Sept. 26, 2023) [link].
42
     See, e.g., Johnny Diaz, NYT, Delta to Adjust SkyMiles Program After Customer Outcry (Sept. 28, 2023) [link].
 Ex. 59 [B6NK-TX-00020960] (JetBlue 2022 10-K), at 40 (chart showing JetBlue fleet details); Ex. 47 [B6NK-
43

TX-00005518] (American 2022 10-K), at 69–70 (chart showing American’s operating statistics).
44
  Ex. PS [JBLU-DOJ-09976407] (June 2021 JetBlue “Evolution to a Travel Company” document) at ‘430 (as of
2021, Delta served 1,084 destinations; JetBlue served 284).
45
     See Spirit Airlines, Inc., Prospectus (May 25, 2011) [link] at 1.
46
     Hill Rep’t at Figure 22.
47
     Hill Rep’t at ¶¶ 31, 101


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of pitch between seats, 48 below the 30-inch industry average and less legroom than is typically

found on LCCs and the legacies.

           While Spirit once enjoyed a first-mover advantage in adopting the unbundled ULCC

model, it now finds itself in a crowded, commoditized space. At least five other airlines—Frontier,

Allegiant, Avelo, Breeze, and Sun Country—offer an unbundled product comparable to Spirit, and

the legacy airlines introduced “basic economy” products designed to compete with ULCC

offerings. Moreover, softening demand for domestic travel, rising costs, and various operational

issues have worsened Spirit’s already unprofitable operations since the COVID-19 pandemic (it

last turned an operating profit in 2019): Spirit recently estimated its third quarter 2023 operating

margin will range between negative 14.5 percent and negative 15.5 percent. 49 In light of its current

financial condition, among other considerations, Spirit recently deferred a large number of aircraft

that it formerly had scheduled for delivery between 2024 and 2027. 50 As a result, Spirit’s historical

growth—a centerpiece of the Government’s case—has slowed.

The New JetBlue

           On July 28, 2022, JetBlue and Spirit executed a merger agreement. The merger is intended

to address JetBlue’s biggest competitive disadvantage—its lack of scale to match the legacies’

systemwide offering and particularly the offering of its largest competitors, the legacies. Indeed,

it was for this very reason that JetBlue first considered acquiring Spirit in late 2017—to “build a




48
     Hill Rep’t at Figure 28.
49
  Ex. BTH [JBLU_MERGER_LIT-02742189] (Sept. 2023 Spirit Investor Update) at 1; Ex. 237
[JBLU_MERGER_LIT-02742435] (Q2 2023 Spirit Earnings Release) at 1.
50
  See, e.g., Ex. TZ [B6NK-TX-00001959] (Q2 2023 Spirit Earnings Call Transcript), at 6–7, 15–16; see also Ex.
BTH [JBLU_MERGER_LIT-02742189] (Sept. 12, 2023 Spirit Investor Update); Ex. 237 [JBLU_MERGER_LIT-
02742435] (Q2 2023 Spirit Earnings Release), at 1, 5, 9–10.


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stronger platform to compete against the ‘Big Four’” and particularly the legacy carriers. 51 It was

this same rationale that motivated JetBlue to consider making an offer for Spirit in 2020, before

the COVID-19 pandemic hit. 52 And it was the same strategic rationale for this transaction. As

JetBlue told its Board of Directors in early 2022, the merger will “unleash a sustainable challenger

brand to legacy airlines,” “position[] JetBlue as a more relevant LCC player in a Legacy-dominated

domestic market,” and expand the JetBlue effect “to new heights.” 53 No one seriously contends

that JetBlue, Spirit, or any other airline can gain the necessary scale to compete with these

dominant players in any foreseeable timeframe without a transaction like this one.

           The primary asset that JetBlue is acquiring is Spirit’s highly compatible fleet. Upon

closing, JetBlue’s expects that its total fleet will comprise of approximately 500 aircraft. 54

Although JetBlue and Spirit share various fleet and engine commonalities, which will streamline

the fleet integration process, their interiors are markedly different. For example, JetBlue offers the

“most legroom in coach” 55 of any US airline on its aircraft and significantly more than Spirit offers.

Because the JetBlue experience—and the corresponding JetBlue Effect—is so crucial to JetBlue’s

competitive position, JetBlue plans to retrofit the Spirit aircraft over the course of several years, to

have the JetBlue layout and amenities by, among other things, removing seats and installing

seatback entertainment.             The airlines will remain separate brands until Spirit’s planes are


51
  Ex. BAV [JBLU-DOJ-10760861] (Oct. 2017 JetBlue Project Henri slide deck), at ‘863; Ex. BEA [JBLU-DOJ-
06254240] (Jan. 2018 JetBlue Project Henri Supplemental Materials).
52
   Ex. BDY [JBLU-DOJ-09982193] (Feb. 2020 JetBlue Project Exchange Board deck), at ‘194, ‘206 (showing
process of Spirit transaction); Ex. BBB [JBLU-DOJ-11062736] (Dec. 2019 JetBlue Project Exchange Board deck)
at ‘738 (explaining how a merger with Spirit would “create a viable long-term competitor” to the dominant legacy
carriers and accelerate JetBlue’s organic growth plan).
 Ex. BQQ [JBLU-LIT-04400989] (March 2022 JetBlue Board Deck) at ‘016 (slide showing goal and effects of
53

merger with Spirit).
54
  See Ex. AWJ [JBLU_MERGER_LIT-00225844] (2023 JetBlue slide deck analyzing the combined fleet as of
February).
55
     See, e.g., JetBlue, Inflight Experience (accessed Oct. 10, 2023) [link].


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retrofitted, reflecting that JetBlue cannot “deliver [the] JetBlue experience on [aircraft] with

Spirit’s interior.” 56

          The merger will dramatically improve and expand JetBlue’s network such that it will be

able to provide a national network that is a viable alternative to the legacies. 57 Following the

merger, JetBlue plans to offer over 700 total nonstop routes, including over 250 nonstop routes

that neither JetBlue or Spirit flew as of July 2023. 58 JetBlue’s expansion will bring enhanced

options for consumers through 10 or more daily departures from nearly 60 cities nationwide.

          Beyond specific routes, JetBlue will expand beyond its current six focus cities (New York,

Boston, Fort Lauderdale-Hollywood, Los Angeles, Orlando, and San Juan, Puerto Rico) to build

nationwide relevance. Over 20 cities in JetBlue’s future network will exceed 30 daily departures. 59

Network improvements of this kind will likely make JetBlue’s loyalty program and credit card

offering even more attractive for consumers, enhancing JetBlue’s ability to challenge the legacies.

As a result of this nationwide competition, the traveling public will benefit in the form of lower

prices and a better travel experience.

                                         LEGAL STANDARD

         Section 7 of the Clayton Act “prohibits . . . acquisitions whose effect ‘may be substantially

to lessen competition, or to tend to create a monopoly.’” Fraser v. Major League Soccer, L.L.C.,

284 F.3d 47, 69 (1st Cir. 2002) (quoting 15 U.S.C. § 18). “To prove a Section 7 violation, ‘the

government must show . . . that the proposed merger is likely to substantially lessen competition,



56
  Ex. AXA [JBLU_MERGER_LIT-02015477] (JetBlue 2023 Integration Planning deck), at ‘569 (slide showing
key brand integration principles); O’Brien (JetBlue) Dep. Tr. 202–03.
57
     Ex. DY [JBLU_MERGER_LIT-01649881] (JetBlue 2023 “2027 Combined Network Plan” deck) at ‘882.
58
  Ex. 25 [JBLU_MERGER_LIT-01649860] (May 2023 JetBlue “Final Combined Network Data” excel) (showing
total and incremental frequencies in the Combined Network Plan).
59
     Ex. DY [JBLU_MERGER_LIT-01649881] (2027 Combined Network Plan) at ‘882.


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which encompasses a concept of reasonable probability”; a mere possibility of harm is not

sufficient. United States v. UnitedHealth Grp., 630 F. Supp. 3d 118, 129 (D.D.C. 2022) (emphasis

in original) (quoting United States v. AT&T, Inc., 916 F.3d 1029, 1032 (D.D. Cir. 2019)). The

“essential question” is whether, at the time of trial, there exists a substantial likelihood of future

ham. United States v. Gen. Dynamics Corp., 415 U.S. 486, 505 (1974) (quoting Brown Shoe Co.

v. United States, 370 U.S. 294, 323 (1962)).

       There is a three-step burden-shifting framework for analyzing the likely competitive effects

of a merger in a challenge under Section 7 of the Clayton Act. See United States v. Baker Hughes

Inc., 908 F.2d 981, 991–92 (D.C. Cir. 1990). 60 Significantly, however, there is no “shifting” of

the ultimate burden of persuasion in a Section 7 case: while Defendants bear the burden of

rebutting the Government’s prima facie showing, “the ultimate burden of persuasion . . . remains

with the government at all times.” Baker Hughes, 908 F.2d at 983; Fed. R. Evid. 301 (“In a civil

case, unless a federal statute or these rules provide otherwise, the party against whom a

presumption is directed has the burden of producing evidence to rebut the presumption. But this

rule does not shift the burden of persuasion, which remains on the party who had it originally.”).

       At step one, the Government must “show[] that a transaction will lead to undue concentration

in the market for a particular product in a particular geographic area,” thus establishing “a

presumption that the transaction will substantially lessen competition.” Id. at 982.                           If the

Government satisfies its initial burden, the “burden of producing evidence to rebut this

presumption then shifts to the defendant[s].” Id. at 982.

       Defendants’ production burden at step two is a low bar. See id. at 992; United States v.


60
  Though the First Circuit has not specifically adopted or applied Baker Hughes, it is well-established that “[c]ourts
generally assess Section 7 cases through [this] three-part burden-shifting framework.” New York v. Deutsche
Telekom AG, 439 F. Supp. 3d 179, 198–99 (S.D.N.Y.) (quoting Chi. Bridge & Iron Co. N.V. v. FTC, 534 F.3d 410,
423 (5th Cir. 2008)).


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Anthem, Inc., 236 F. Supp. 3d 171, 213 (D.D.C. 2017) (“[The] quantum of evidence [Defendants]

must produce to shift the burden back is relatively low . . . . [D]efendants are not required to clearly

disprove anticompetitive effect, but rather to make merely ‘a showing.’” (quoting United States v.

Philadelphia Nat. Bank, 374 U.S. 321, 363 (1963)). “A defendant can make the required showing

by (1) affirmatively showing why a given transaction is unlikely to substantially lessen

competition, or (2) by discrediting the data underlying the initial presumption in the government’s

favor.” Baker Hughes, 908 F.2d at 991. In short, Defendants may rebut the presumption by

showing that market shares and concentration are not accurate predictors of future competition.

See id. at 991. However, there is no set way in which Defendants are required to rebut the

presumption. Id. Courts have found it to be rebutted based on low entry barriers, academic studies

showing results inconsistent with a presumption, and constrained resources of the merging parties

relative to their competitors. See, e.g., id. at 984–85, 987–88; In re AMR, 625 B.R. at 256, 258;

United States v. Waste Mgmt., Inc., 743 F.2d 976, 983 (2d Cir. 1984).

      Finally, at step three, “the burden of producing additional evidence of anticompetitive effect

shifts to the government, and merges with the ultimate burden of persuasion, which remains with

the government at all times.” Baker Hughes, 908 F.2d at 983. In other words, the Government

has the burden “on every element of their Section 7 challenge, and a failure of proof in any respect

will mean the transaction should not be enjoined.” Anthem, 236 F. Supp. 3d at 192 (quoting FTC

v. Arch Coal, Inc., 329 F. Supp. 2d 109, 116 (D.D.C. 2004)).

      Still, the Court’s inquiry under Section 7 is a flexible one. “The Supreme Court has adopted

a totality-of-the-circumstances approach to [Section 7], weighing a variety of factors to determine

the effects of particular transactions on competition.” Baker Hughes, 908 F.2d at 984. “Relevant

evidence may include unique economic circumstances and nonstatistical evidence that undermines



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  the predictive value of market share statistics, such as ease of entry into the market, the trend of

  the market toward or away from concentration, and the continuation of active price competition.”

  New York v. Deutsche Telekom AG, 439 F. Supp. 3d 179, 206–07 (S.D.N.Y. 2020).

                                            ARGUMENT

         Although the Government, like JetBlue, has bemoaned legacy dominance and recognized

  the importance of systemwide competition to improve consumer welfare in the industry, the

  Government now votes for the status quo with this lawsuit. In so doing, the Government focuses

 its challenge on a select number of routes—primarily 51 routes where JetBlue and Spirit both flew

 nonstop from the third quarter of 2021 through the second quarter of 2022—out of the thousands

 of routes in the country. The Government’s attempt to ignore the dynamic, network-level

  competition in defining the relevant market is contrary to the law and alone fatal. But even if the

  Government’s route-based markets are taken at face value, the Section 7 challenge fails. The

 market share statistics on which the Government relies are outdated, do not account for the

 divestitures contemplated in the merger agreement, do not account for the largely unencumbered

 entry or expansion of other carriers on these routes, and as a result, do not accurately reflect future

 competition on these routes. Nor does the Government grapple with the ample evidence showing

 that ULCCs are lining up to enter any routes that JetBlue or Spirit exits and that Defendants’

 divestitures will help ensure promote competition systemwide.

I.   THE GOVERNMENT’S ROUTE-LEVEL GEOGRAPHIC MARKETS DO NOT
     CAPTURE THE COMPETITIVE REALITIES OF THIS INDUSTRY OR
     ACCURATELY ILLUMINATE THE LIKELY EFFECTS OF THE MERGER

         To meet its prima facie burden, the Government must identify a relevant product and

  geographic market and show the transaction will lead to increased concentration levels in the

  relevant market. FTC v. RAG-Stiftung, 436 F. Supp. 3d 278, 291 (D.D.C. 2020) (citing Baker

  Hughes, 908 F.2d at 982). The selection of the relevant market definition is a fact-specific inquiry,

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United States v. U.S. Sugar Corp., 73 F.4th 197, 203 (3d Cir. 2023), that requires consideration of

consumer demand and supply, see Brown Shoe Co. v. United States, 370 U.S. 294, 325 n. 42

(1962).

          Here, the Government defines the relevant geographic market around unduly narrow origin

and destination pairs, comprising a relatively small percentage of routes flown by commercial

carriers in the United States. But such a narrow market definition fails to adequately capture the

effects of the proposed merger at the national and regional level for at least three reasons:

          First, the Government’s route-level markets ignore abundant evidence of national airline

competition. As detailed above, an airline’s network design and adjustments, business model and

strategy, loyalty and frequent flyer programs, aspects of pricing and fare structure, and airport and

city presence are top-down, systemwide decisions.                   For example, Spirit has assessed its

competitors in terms of “network overlaps, as measured by overlapping available seat miles.”61

Further, “price is not the only dimension on which competition occurs.” Deutsche Telekom, 439

F. Supp. 3d at 235 (explaining that consumers in the mobile phone industry make choices “based

on several considerations” other than price and that, accordingly, providers compete on various

“dimensions of network quality”). The evidence shows that the quality and breadth of an airline’s

offering—for example, through loyalty programs, airport presence, and fare class offerings—often

drive customers’ decisions to purchase any given plane ticket. These are aspects of the flying

experience determined through competition at a national or regional level, not the route level.




61
  Ex. 39 [B6NK-TX-00000441] (Spirit 2022 10-K) at 9 (discussing competition with other airlines); see also Ex.
BIA [NK-2R-04164067] (Apr. 2019 Spirit email chain) at ‘067 (discussing potential options for Spirit to shift
capacity in light of reductions by other airlines caused by the Boeing Max grounding, showing that capacity can be
quickly shifted throughout an airline’s system and routes across the country compete against one another for
capacity).


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        Defendants do not dispute that airlines also compete at the route level. But that fact alone

does not compel the Court to adopt the Government’s proposed route-level market definition. The

Government itself has used different market definitions to examine different transactions in the

airline industry. See Complaint, United States v. United Continental Holdings, Inc., No. 2:15-cv-

07992 (D.N.J. Nov. 10, 2015), ECF. No. 1, at ¶ 32 (“Given that slots can be used to serve any

route to or from Newark, it is appropriate to aggregate all routes that either originate or terminate

in Newark for the purpose of defining a relevant market in which the transaction will cause

anticompetitive harm.”); see also Am. Compl, United States v. US Airways Grp., Inc., Case No.

1:13-cv-01236 (D.D.C. Sep. 5, 2013), ECF. No. 73, at ¶ 31 (defining a market for slots at an

airport). And the Government’s own economic experts acknowledge that competition occurs at

different levels of the industry. 62         The Government’s economist, Dr. Gowrisankaran, also

acknowledges that multiple geographic markets, including a national market, pass the

“hypothetical monopolist test” used to evaluate market definition. 63

        Where multiple geographic markets are potentially in play, the question for the Court is

which best illuminates the competitive effects of the merger and thus are the relevant geographic

market(s) through which this merger should be analyzed. United States v. U.S. Sugar Corp., 2022

WL 4544025, at *24 (D. Del. Sept. 28, 2022), aff’d 73 F.4th 197 (3d Cir. 2023) (explaining that

purpose of market definition is not to “figure out which market allows the Government to prevail

and then to use that market”). The Court need not choose the narrowest market “where such

‘division does not aid [the court] in analyzing the effects of [a] merger.’” Id. (quoting Brown Shoe


62
  E.g., Expert Report of Dr. Tasneem Chipty, PhD, at ¶ 50 (Jul. 31, 2023) (“Chipty Rep’t”) (“[A]irlines do not make
entry decisions on a simple route-by-route basis” but instead, “airlines decide which routes to operate based on
sophisticated systemwide network optimization.”).
 Gowrisankaran Dep. Tr. 9:11–10:3, 15:16–21 (“[A] geographic market, such as the United States as a whole,
63

would pass the hypothetical monopolist test . . .”).


                                                        26
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Co., Inc. v. United States, 370 U.S. 294, 327 (1962)); see also Coastal Fuels of Puerto Rico, Inc.

v. Caribbean Petroleum Corp., 79 F.3d 182 (1st Cir. 1996) (rejecting plaintiff’s narrow geographic

market in favor of defendant’s broader one); Ball Mem’l Hosp., Inc. v. Mut. Hosp. Ins., Inc., 784

F.2d 1325, 1336 (7th Cir. 1986) (affirming district court’s finding that the relevant “geographic

market ‘is regional, if not national’” where narrower markets failed to capture full competitive

effects). Indeed, even where some aspects of competition are local, the Supreme Court has not

hesitated to find a broader geographic market where the record reflected competition at the regional

and national level. See Grinnell, 384 U.S. at 575 (finding a national market notwithstanding 25-

mile catchment area for local facilities where the evidence at trial showed “national planning,”

agreements “cover[ing] activities in many [s]tates,” and a “national schedule of prices, rates, and

terms, though the rates may be varied to meet local conditions.”).

       Second, the Government will claim that a national market is not appropriate because it

includes routes that are not substitutes for one another, but that argument considers only demand-

side substitution—customers choosing to switch from one type of product to another across

geographies. The Government fails to consider the commercial reality that airplanes are mobile

and the airline industry moves around capacity in response to customer demand and competition

from other airlines. Courts recognize that the movement of supply across geographics to satisfy

customers—supply-side substitution—is also critical in determining the relevant market. See

Brown Shoe, 370 U.S. at 325 n. 42 (1962); Blue Cross & Blue Shield United of Wisconsin v.

Marshfield Clinic, 65 F.3d 1406, 1411-12 (7th Cir. 1995) (“[T]he definition of a market depends

on substitutability on the supply side as well as on the demand side.”); Rebel Oil Co. v. Atl.

Richfield Co., 51 F.3d 1421, 1436 (9th Cir. 1995) (“[D]efining a market on the basis of demand

considerations alone is erroneous. . . . A reasonable market definition must also be based on



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“supply elasticity. . . .); Virtual Maintenance Inc. v. Prime Computer, 957 F.2d 1318 (6th Cir.

1992) (“The relevant product market cannot be determined without considering the cross-elasticity

of supply.”). Just last year, the district court in U.S. Sugar rejected the Government’s proposed

regional market because “sugar flows easily across the country from areas of surplus to deficit in

response to prices and demand.” U.S. Sugar, 2022 WL 4544025 at *24.

            The evidence presented at trial will show that airlines move planes across routes in

response to changes in consumer demand and competitor supply. A plane that flies from Chicago

to Miami one day may fly from Boston to Detroit the next. An airline may recognize that one

route is more competitive, and therefore less profitable, and shift resources to a route with less

competition. This shifting among routes is a form of supply-side substitution that occurs with ease

and frequency in the airline industry, and that must be accounted for in defining the relevant

market. Because airlines can move planes from anywhere in the country to anywhere else in the

country, the effects of this merger are best examined at a national level.

           Third, the specifics of this transaction and both parties’ arguments reinforce a national

geographic market as an appropriate choice in this case. Both the Government and Defendants

allege that this merger will have significant system-wide effects, they just dispute the nature of

those effects. Defendants argue that the merger will give JetBlue the scale and scope needed to

mount a national challenge to the legacy airlines, which will redound to the benefit of millions of

consumers across the country. 64 The Government alleges that by replacing the Spirit business

model with the JetBlue business model, customers across Spirit’s current and future network will

be harmed by the merger. 65 These broad effects are not accurately captured by the Government’s



64
     See, e.g., JetBlue’s Answer to Am. Compl, ECF No. 87, at ¶¶ 1, 6,
65
     See, e.g., Am. Compl., ECF No. 69, at ¶¶ 30, 57.


                                                          28
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  artificially narrow route-level market definition. See Deutsche Telekom AG, 439 F. Supp. 3d at

  232 (holding that courts must evaluate “each merger . . . in the context of its particular industry

  and unique circumstances”).

          In summary, the law is clear that the market definition must reflect “commercial realities.”

  Brown Shoe, 370 U.S. at 336–37 (“The geographic market selected must…correspond to the

  commercial realities.” (emphasis added)). The Government’s route-based market definition fails

   to do so by ignoring important aspects of national and regional competition and, as a result,

   substantially overstates the competitive effects of this merger.

II.   THE GOVERNMENT’S ALLEGED PRESUMPTION OF ILLEGALITY FAILS
      IRRESPECTIVE OF THE MARKET DEFINITION

          Market concentration statistics are merely a “convenient starting point” for the competitive

   analysis. Baker Hughes, 908 F.2d at 984, 986, 988, 991-92; see also Gen. Dynamics, 415 U.S. at

   498 (while “statistics concerning market share and concentration” may be significant, they are “not

   conclusive indicators of anticompetitive effects”). Modern merger analysis requires a “totality-of-

  the-circumstances approach” encompassing an “overall assessment of future competitiveness” to

  determine the probable effects of the proposed merger. Baker Hughes, 908 F.2d at 984, 988; In re

  AMR, 625 B.R. at 247 (“[V]arious courts . . . have relied upon a multiplicity of relevant factors in

  performing a Section 7 violation analysis.”).

          Only if the Government makes a prima facie showing does the “burden of producing

  evidence to rebut this presumption then shift[] to the defendant[s].” Baker Hughes, 908 F.2d at

  982. Even if the Government could make such a showing, Defendants will offer evidence that

  “market share statistics g[i]ve an inaccurate account of the acquisition’s probable effects on

  competition” in the relevant markets to return the ultimate burden back to the Government. United

  States v. Citizens & S. Nat’l Bank, 422 U.S. 86, 120 (1975); Anthem, 236 F. Supp. 3d at 213 (“[T]he


                                                    29
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quantum of evidence defendants must produce to shift the burden back is relatively low . . . . [they]

are not required to clearly disprove anticompetitive effect, but rather to make merely a showing.”

(internal quotations and citations omitted)); see also Baker Hughes, 908 F.2d at 992 (“Imposing a

heavy burden of production on a defendant would be particularly anomalous where . . . it is easy

to establish a prima facie case. . . . The Herfindahl–Hirschman Index 66 cannot guarantee litigation

victories.”). In this respect, evidence of entry and expansion is relevant to both the Government’s

ability to meet its prima facie burden and Defendants’ ability to rebut it. As one court explained:

“Whether entry is included as part of the market definition or in the ease of entry evaluation,

practically, is of no consequence. In either event, the result is the same. The exercise of market

power will be thwarted and collusive behavior will not be possible.” FTC v. Occidental Petroleum

Corp., 1986 WL 952, at *8 (D.D.C. Apr. 29, 1986) (finding plaintiff failed to meet prima facie

burden).

           Here, the Government alleges that it is entitled to a presumption of harm on 183 routes,

including 51 routes where (as of the time of the Government’s snapshot) JetBlue and Spirit offered

nonstop service, 117 routes where JetBlue and Spirit offered connect service, and 15 “mixed”

routes, where one carrier offered nonstop service and the other carrier offered connecting service. 67

But on the vast majority of these routes—132 out of 183—at least one carrier only offered connect

service, and there is no evidence that the merging parties meaningfully compete with one another

when one is providing nonstop service and the other is providing connecting service. 68 The

Government also ignores that Defendants’ connecting flights are often priced using a “sum of



66
  The Herfindahl–Hirschman Index or “HHI” is a tool used to measure concentration in antitrust cases and is the
basis for the Government’s alleged presumption.
67
     Amended Expert Report of Gautam Gowrisankaran, PhD (“Gowrisankaran Rep’t”) at ¶ 99 (Jul. 7, 2023).
68
     See Hill Rep’t ¶¶ 55–57, 248, 256–57.


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locals” method that simply adds the price of individual connecting legs together—meaning that

JetBlue and Spirit are not actually competing on price on these connecting routes. 69 Simply put,

a merger cannot “substantially lessen” competition if there is no meaningful competition to begin

with. It is therefore not surprising that the Government’s own expert who initially calculated these

market concentration statistics has chosen to focus on just 51 routes (out of the many hundreds of

routes served today by JetBlue and Spirit) where JetBlue and Spirit both offered nonstop service

according to his Q3 2021–Q2 2022 snapshot of market shares. 70

        But even on these 51 routes, Defendants will rebut the alleged presumption because the

Government’s market concentration statistics inaccurately predict the merger’s probable effect on

competition for several reasons:

        First, exemplifying the dynamic nature of this industry and the frailty of any inference

based on static, route-level market concentration statistics: only one year has passed since the

Government’s market share snapshot was taken, and JetBlue and Spirit no longer compete on 6 of

the 51 (i.e., 12%) of the nonstop “presumption” routes the Government plans to discuss at trial.

On each of these routes, one or both carriers has exited due to ordinary course changes in network

plans. These changes, in such a short period of time, illustrate the unreliability of any presumption

based on static, route-level market shares. See Deutsche Telekom, 439 F. Supp. 3d at 245

(explaining the pitfalls of using a “simple, static” view of the market to predict anticompetitive

effects “in a complex and dynamic industry”).




69
  Hill Rep’t ¶¶ 55–57, 248 256–57, & Figure 82; Ex. AEO [NK-2R-07001679] (April 2022 Spirit slide deck
explaining that 97% of passengers on Spirit’s top 20 connect routes buy sum of local fares).
70
  Expert Reply Report of Gautam Gowrisankaran, PhD (“Gowrisankaran Reply Rep’t), at ¶ 6 (Aug. 25, 2023)
(describing the 51 non-stop overlaps as “the central markets in this case”).


                                                     31
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        Second, barriers to entry and expansion at the route-level are low and other airlines—

particularly ULCCs—are poised and ready to seize any profit opportunities that may arise. See

United States v. Syufy Enterprises, 903 F.2d 659, 664 (9th Cir. 1990) (“[Absent] significant

barriers to entry, . . . rais[ing] prices above the competitive level will lure into the market new

competitors able . . . to offer their commercial goods . . . for less.”). Entry, exit, and expansion at

the route-level are everyday occurrences in the airline industry, as JetBlue’s weekly “Competitive

Schedule Change” reports illustrate. 71

        This dynamic pattern of entry and exit is critical to the Section 7 analysis. In a recent

decision rejecting a challenge to a different airline merger, the court cited the low route-level entry

barriers as one (of many) reasons the plaintiffs were not entitled to a presumption of harm:

        While there are substantial capital costs for new entrants into the airline industry
        generally, barriers to entry for existing carriers into new routes are relatively low,
        suggesting that the further expansion of LCCs and ULCCs remains a possibility.

In re AMR, 625 B.R. at 258 (emphasis added). 72

        Of course, an airline seeking to enter a new airport must follow any applicable procedures

such as obtaining approval from the relevant airport authority. But airports generally have an

incentive to accommodate airlines that want to add flights because more flights result in more

revenue for the airports. Moreover, as this Court has explained, in assessing ease of entry, ordinary

entry hurdles are not enough; there must be “significant” barriers that “prevent[] another firm from



71
  Ex. AVU [JBLU_MERGER_LIT-00011360] (JetBlue weekly change report showing 25 announced changes by
JetBlue and other airlines on routes within JetBlue's network during a week in March 2023); Ex. BPR
[JBLU_MERGER_LIT-01727660] (JetBlue weekly change report showing more than 100 announced changes by
JetBlue and other airlines on routes within JetBlue’s network during a week in April 2023); Ex. 231 [JBLU-DOJ-
00130028] (JetBlue weekly change report showing 135 changes by JetBlue and other airlines).
72
  The In re AMR court also found that route-level market shares, in fact, do not predict future competitive
conditions. In In re AMR, the court examined various academic studies and expert work showing that prices
dropped and traffic increased after airline mergers on nonstop overlap routes that were allegedly presumptively
unlawful—which is the opposite of what the presumption would predict. 625 B.R.at 253-55.


                                                        32
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entering.” Bio-Rad Lab’ys, Inc. v. 10X Genomics, Inc., 483 F. Supp. 3d 38, 66 (D. Mass. 2020)

(Young, J.); see also Sterling Merch., Inc. v. Nestle, S.A., 724 F. Supp. 2d 245, 268 (D.P.R. 2010),

aff’d 656 F.3d 112 (1st Cir. 2011) (“It is established in antitrust law that an entry barrier is a cost

that is greater for a new competitor than for established rivals.”). Thus, ordinary hurdles that must

be overcome to enter a new airport or route are not “barriers” to entry within the context of Section

7. And regardless, Defendants’ divestiture commitments will enhance competition in New York,

Boston, and Miami/Fort Lauderdale, home to some of the most “constrained” airports in the US.

         ULCCs, in particular, have a history of rapid entry and expansion. The ULCC model is

particularly well tailored to mobility, as ULCCs typically fly fewer frequencies on routes and are

typically less committed to building a brand and customer loyalty. Because ULCCs can nimbly

move fleet and crew to enter new routes and airports in the span of weeks or months, they can

readily enter the Government’s “presumption” routes, 73 such that “any anti-competitive impact of

the merger before us would be eliminated more quickly by such competition than by litigation.”

Waste Mgmt., 743 F.2d at 983; see also United States v. Country Lake Foods, Inc., 754 F. Supp.

669, 673–74 (“In spite of the high concentration . . . the absence of entry barriers makes it unlikely

that [defendants] could exercise market power.”).

         In addition, the merging parties’ competitors have outsized orderbooks with well over 500

airplanes scheduled to be delivered in the next 5 years, giving other airlines ample fire power to



73
  See, e.g., Yealy (Avelo) Dep. Tr. 120:14-121:7 (“[W]e pride ourselves on [our] start-up mentality, being flexible,
and nimble. So I'm quite confident that we could move quickly [to take advantage of new opportunities]. Nothing
moves overnight, but we could move quickly.”); Neeleman (Breeze) Dep. Tr. 158:15-160:3 (“Q. If JetBlue were to
stop flying a route that Spirit was previously flying, would you consider entering that route? A. In a nanosecond.
Absolutely. […] Q. And what about on a route where Spirit and JetBlue are currently both flying? If the Spirit flight
went away, would you consider entering that route to compete with JetBlue? A. Yeah. Absolutely”); Wells
(Allegiant) Dep. Tr. 193:12-25 (Allegiant’s business model is to “announce new routes as quickly as feasible” and
“capitalize on each opportunity as soon as possible.”); Biffle (Frontier) (Private) Dep. Tr. 17:14-18:22 (estimating it
would take Frontier and other ULCCs only “12 to 24 months” to replace all of Spirit’s routes).


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support new and expanded competition on these routes. United alone has more planes scheduled

for delivery between now and the end of 2024 than Spirit has in its entire fleet. 74 Similarly,

Southwest is scheduled to take delivery of at least 207 aircraft between 2023 and 2025. 75

American and Delta also have sizable orderbooks. And the other airlines operating a ULCC or

similar model (Frontier, Allegiant, Avelo, Breeze, and Sun Country) are collectively slated to add

nearly 200 new airplanes to their fleets by the end of 2025, which is well more than JetBlue and

Spirit combined. 76 Even if some of these deliveries are delayed due to supply chain issues,

Defendants’ rivals will still have plenty of airplanes with which to seize any profit opportunities

that may arise from this merger.

           In order to rebut the Government’s prima facie case, Defendants need only show that entry

barriers are low, not that any particular firm will enter any particular route on any particular

timeframe. In this respect, the Government misstates Defendants’ burden, asserting that even if

other airlines eventually start serving the “presumption” routes, their entry will not be quick

enough to abate the harm caused by Spirit’s exit. The Government’s argument is founded upon

DOJ’s own Horizontal Merger Guidelines (“Guidelines”), which are not the law, as courts have

made clear. See Deutsche Telekom, 439 F. Supp. 3d at 232 (“[T]he Court . . . disagree[s] that the

two-year standard [for entry] once specified by the Merger Guidelines should carry any talismanic

force here.”). To the contrary, it is well-established that Defendants do not need to prove entry




74
  Compare Ex. 185 [JBLU_MERGER_LIT-02738733] (United 10-Q for Period Ending June 30, 2023) at 20
(showing United set to take delivery of 223 aircraft for the rest of 2023 and 2024) with Ex. 39 (Spirit 2022 10-K) at
95 (Spirit had 194 aircraft in its fleet at the end of 2022).
75
     Ex. 69 [B6NK-TX-00013756] (Southwest 2022 10-K) at 48.
76
  JetBlue and Spirit are slated to add 65 incremental airplanes total over the same time period. The merging parties’
relatively limited future assets is yet another reason why the Government’s prima facie case fails. See General
Dynamics, 415 U.S. at 508 (rejecting presumption where merging parties’ future coal reserves were limited
compared to their competitors’ reserves).


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will be “quick [or] effective” to rebut the Government’s prima facie case. See Baker Hughes, 908

F.2d at 988 (rejecting the government’s proposed “quick and effective” rule for evaluating entry).

           Nor must Defendants prove that other airlines will replace Spirit one-for-one on the exact

routes—with the same frequencies—Spirit chooses to fly today. Baker Hughes, 908 F.2d at 988

(“[A] defendant seeking to rebut a prima facie case certainly need not show that any firm will enter

the relevant market.” (emphasis in original)); see also FTC v. H.J. Heinz Co & Milnot Holding

Corp., 246 F.3d 708, 717 n.13 (D.C. Cir. 2001) (“Low barriers to entry enable [potential entrants]

to deter anticompetitive behavior by firms within the market simply by [their] ability to enter the

market.” (emphasis added)). This reflects the parties’ respective burdens under Section 7: the

Government must demonstrate a probability of future harm. See Baker Hughes, 908 F.2d at 991–

92 (“By focusing on the future, section 7 gives a court the uncertain task of assessing

probabilities.”). To require Defendants to prove replacement of the merging party one-for-one

“would move far toward forcing [Defendants] to rebut a probability with a certainty.” Id. Such a

requirement would be particularly inappropriate here given that airlines are constantly reevaluating

and adjusting their networks such that JetBlue or Spirit itself may choose to exit some of the

presumption routes in the ordinary course.

           Third, JetBlue has entered into binding contracts to divest to Frontier and Allegiant assets

at the handful of airports with arguably higher barriers to entry, which will facilitate entry and

expansion by these airlines. Specifically, JetBlue signed a multi-million dollar contract with

Frontier to divest all of Spirit’s gates and 22 slot-pairs at LaGuardia Airport (“LGA”). According

to Frontier, LGA is “one of the most valuable markets to try to get into,” but because of its slot

restrictions, Frontier has “no clear path today” to “compete at LGA aside from [] these assets.”77


77
     Biffle (Frontier) Dep. Tr. 167:24-169:24.


                                                   35
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This divestiture will make serving routes from the New York market more attractive to Frontier, 78

which would enable Frontier to expand its ULCC fares at LGA. JetBlue also signed a multi-

million dollar contract with Allegiant for 2 gates and facilities at Boston, Logan; 2 gates and 43

takeoff and landing authorizations at EWR; and 5 gates and facilities at Fort Lauderdale. Allegiant,

in the words of its Chief Revenue Officer, will therefore “be poised and ready to seize any [route]

opportunities” to and from those airports, including “any currently flown routes by JetBlue and

Spirit.” 79

            These divestitures will not only unleash entry and expansion by Frontier and Allegiant, but

they will also maintain the competitive landscape at these airports, which serve as endpoints for

36 of the Government’s 51 nonstop “presumption” routes. 80 Significantly, the Government’s

market concentration proof does not account this critical fact, even though the Government itself

has repeatedly relied on such divestures to ameliorate the effects of prior airline mergers. 81

            Nor is there any requirement that the divestiture buyers fly the exact same routes that Spirit

flies today, as the Government now claims. To the contrary, as the Government told the Court in

promoting the divestiture remedy in American/US Airways, the divestiture of slots, gates and

ground facilities “create[s] network opportunities for the purchasing carriers … that will likely use

them to fly more people to more places are more competitive fares.” 82 The point is that divestitures




78
     Biffle (Frontier) LIT Dep. Tr. 57:2-12, 110:9-23.
79
     Wells (Allegiant) Dep. Tr. 231:23-232:1, 236:9-13.
80
  See Hill Rep’t at Figure 75. The parties agree that, if the Government’s route-level market definition is accepted,
the three New York City-area airports (La Guardia, Newark, and JFK) comprise a single geographic market, as do
both Miami-area airports (Miami Dade and Ft. Lauderdale).
81
     See infra Section III.
82
  Competitive Impact Statement at 2, United States v. US Airways Grp., Case No. 1:13-cv-01236 (CKK), ECF No.
148 (D.D.C. Nov. 12, 2013); United States v. US Airways Grp., 38 F. Supp. 3d 69, 78 (D.D.C. 2014).


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       to low-cost carriers result in systemwide benefits, which in a fluid industry will redound to the

       benefits of all consumers.

                  Fourth, even if the Court were to accept the Government’s proposed geographic market

       definition, the same factors that undermine the Government’s market definition—i.e., the dynamic

       nature of the airline industry, the substantial competition that occurs outside of these routes, the

       substantial benefits that will redound to millions of consumers if this merger is permitted to

       proceed—significantly undermine the predictive value of the Government’s route-level, snapshot-

    in-time concentration statistics and would therefore rebut any presumption of harm.                     See

    Occidental Petroleum, 1986 WL 952, at *8; see also Gen. Dynamics, 415 U.S. at 498 (affirming

       finding that “no substantial lessening of competition occurred” based on “structure, history and

       probable future” of industry, despite high market concentration figures).

III.          THE EVIDENCE WILL SHOW THAT THIS MERGER WILL INCREASE
              COMPETITION, NOT REDUCE IT

                  Without a presumption of harm, the Government must present other evidence showing the

    merger is anticompetitive. They will be unable to do so, particularly when the merger is considered

    under the “totality of the circumstances.” Baker Hughes, 908 F.2d at 984. With that lens, it is

    apparent this merger will increase airline competition throughout the country, benefitting travelers

    everywhere.

              A. A Bigger JetBlue Will Increase Competition

                  The Government has long recognized that JetBlue is a uniquely disruptive, low-cost airline

    and has the strongest disciplining effect on the legacy airlines. As the Government put it well in

    the NEA Case:

                       •   “JetBlue historically has behaved like a maverick in the airline industry.” 83

       83
            NEA Pls. Post-Trial Brief at 37.


                                                            37
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                •   “JetBlue’s high quality of service allowed it to compete effectively against the
                    legacy airlines in ways other LCCs and ULCCs could not.” 84
                •   “JetBlue has exerted a particularly unique, disruptive force on the marketplace,
                    termed the ‘JetBlue Effect.’” 85
                •   “The JetBlue Effect produces lower prices and higher quality service on routes
                    where JetBlue competes.” 86
                •   “Competition from JetBlue resulted in legacy airlines reducing ancillary fees.” 87
                •   “In total, competition between JetBlue and the legacy airlines has saved travelers
                    billions of dollars.” 88

           Through this merger, JetBlue will vastly improve and expand its network and other aspects

of its business—like its loyalty program—ultimately supercharging the JetBlue Effect and

providing a national low-cost competitor to the legacies. For example, with this merger, JetBlue

will add flights to nearly a hundred new locations that neither JetBlue nor Spirit currently fly across

the country. JetBlue will significantly expand its presence in over 15 cities to be similar in size to

some of JetBlue’s current focus cities. The merger will create an airline with nationwide

relevance. 89 It also will give JetBlue a meaningful presence at legacy fortress hubs, so JetBlue can

challenge legacy dominance there and offer consumers more choice. Overall, this will multiply

the benefits the Government already recognizes JetBlue brings even as a much smaller competitor:

lower prices, fewer fees, a better product, and improved customer service.

           A bigger JetBlue also will result in more people flying. The model used by one of the

Government’s own economic experts shows that millions more people will travel with the merger

than without it. That, too, fatally undermines any notion that the merger is anticompetitive under


84
     NEA Pls. Proposed FoF ¶ 27.
85
     NEA Pls. Post-Trial Brief at 37-38.
86
     NEA Pls. Proposed FoF ¶ 12.
87
     NEA Pls. Proposed FoF ¶ 39.
88
     NEA Pls. Proposed FoF ¶ 45.
89
     Ex. DY [JBLU_MERGER_LIT-01649881] (JetBlue 2023 “2027 Combined Network Plan” deck).


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standard antitrust principles. See, e.g., Chi. Pro. Sports Ltd. P’ship v. Nat’l Basketball Ass’n, 95

F.3d 593, 597 (7th Cir. 1996) (“The core question in antitrust is output. Unless a contract reduces

output . . . there is no antitrust problem.”).

        On the other hand, blocking this merger will preserve the status quo, which no one believes

is good for consumers. This Court will hear from executives of JetBlue, Spirit, and other small

airlines who will testify to the need for a disruptive, nationwide, low-cost competitor to shake up

competition in the airline industry. They will explain the struggles they face as small airlines to

compete with the sheer scale and resources of the entrenched legacy airlines. Those advantages

include: (1) massive airplane fleets and order books; (2) airline networks that cover the entire

United States and, with their international partners, the world; (3) entrenched dominance at

strategic airports throughout the country—the legacy “fortress hubs”; (4) loyalty programs that,

alone, are worth billions of dollars, and keep travelers within their ecosystem; and (5) the sheer

scale and resources to ride out the frequent changes and challenges that have beset the airline

industry (e.g., COVID-19 pandemic, increased labor and fuel costs, recent decline in domestic

demand in favor of international travel, etc.).

        For over a decade, courts and the Government have recognized that the “continued vitality

of LCCs,” which “place downward pressure on air fares,” will ensure “robust competition” and

benefit consumers. See In re AMR, 625 B.R. at 257; Competitive Impact Statement at 5, United

States v. US Airways Grp., No. 1:13-cv-01236 (D.D.C. Nov. 12, 2013), ECF No. 148; United

States v. US Airways Grp., 38 F. Supp. 3d 69, 78 (D.D.C. 2014). With this merger, JetBlue will

become a sustainable nationwide competitor with the network breadth, loyalty program, and other

resources to spread the JetBlue Effect nationwide. As other airlines are forced to lower prices and

improve their quality and service in response to a more robust JetBlue, millions of people will save



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money and millions more will fly as compared to a world without the merger. On these facts, the

Government cannot show the merger is likely to result in a substantial lessening of competition.

       B. The Merger Will Not Cause Adverse Unilateral Effects

           Unilateral effects are those resulting from “the elimination of competition between two

firms that results from their merger.” Guidelines § 6. Courts have observed that the relevant

inquiry for unilateral effects is not whether the defendants compete in some manner or whether

prices may increase for “some . . . customers,” but rather whether the merger “as a whole” will

substantially lessen competition. FTC v. RAG- Stiftung, 436 F. Supp. 3d 278, 317 (D.D.C. 2020)

(emphasis in original).

           By focusing on a subset of routes, and ignoring the network benefits the merger will bring

across hundreds or thousands of routes, the Government misses the forest for the trees. Indeed,

DOJ’s prior enforcement decisions reflect that, in the airline industry, the Section 7 analysis must

look beyond individual routes to systemwide effects.

               •   In the Delta and Northwest merger, the DOJ predicted the possibility of harm on a
                   number of overlapping routes, but nevertheless approved the transaction, with no
                   divestitures, because the benefits generated by combining the airlines’ networks
                   would “easily exceed any potential for harm from the deal.” 90
               •   DOJ permitted United and Continental to merge after United agreed to divest slots
                   at Newark Airport, even though several overlapping routes did not touch Newark
                   and thus the any route-level harm could not have been “remedied” with those
                   divestitures. 91
               •   DOJ approved Southwest/AirTran, which involved numerous overlapping routes,
                   with no divestitures. 92


90
     KEN HYER ET AL., THE YEAR IN REVIEW: ECONOMICS AT THE ANTITRUST DIVISION 2008-2009 at 7 (2009) [link].
91
  Dep’t of Justice, Press Release No. 10-974, Department of Justice Closes Investigation, Transfer of Newark, N.J.,
Assets Resolves Competition Concerns (Aug. 27, 2010) [link] (“The transfer of slots and other assets at Newark to
Southwest, a low cost carrier that currently has only limited service in the New York metropolitan area and no
Newark service, resolves the department’s principal competition concerns and will likely significantly benefit
consumers on overlap routes as well as on many other routes.”).
 Dep’t of Justice, Press Release No. 11-523, Statement of the Department of Justice Antitrust Division on Its
92

Decision to Close Its Investigation of Southwest's Acquisition of Airtran (Apr. 26, 2011) [link] (“The division said

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                •   When American and US Airways merged, DOJ resolved the merger with a
                    divestiture package that was explicitly aimed at improving “system-wide
                    competition,” not remedying alleged route-based harm; indeed, as noted above,
                    DOJ argued to the court that approved the settlement that it was not appropriate to
                    consider the impact of the divestitures on simply a route-by-route basis. 93

           These enforcement decisions reflect a fundamental economic reality: the airline industry is

not a set of isolated routes that can be compartmentalized and viewed in isolation. Rather, it is an

interconnected and dynamic network industry where many aspects of competition take place

nationally and regionally. Given this economic reality of the airline industry, and modern merger

analysis which employs a “totality of the circumstances” approach, Baker Hughes, 908 F.2d at

984, the Government’s myopic route-based focus fails to capture what is at stake here: namely,

the opportunity through this merger to inject substantial competition into an industry that needs

more of it. Instead, the proper lens with which to judge the competitive effects of this merger is

holistically on a nationwide basis. US Sugar, 73 F.4th at 207 (“[W]hen defining a market, courts

may draw distinctions as necessary to understand a merger’s effects on consumers”). Viewed

through this lens, a merger between the sixth and seventh largest carriers will bring substantial

systemwide benefits, is not likely to substantially lessen competition under Section 7.

           But even looking at this merger on a route-by-route basis, the result is the same: it will not

substantially lessen competition. JetBlue’s unique blend of low fares and high quality is widely

known in the industry to bring the largest competitive impact, forcing other airlines to lower their

fares, and improve their product offering, to compete with JetBlue. See, e.g., Deutsche Telekom,

439 F. Supp. 3d at 239 (unilateral anticompetitive effects unlikely where “rather than . . . assuming

the risk entailed by changing a successful business strategy, the merged company would instead


that the presence of low cost carriers like Southwest and AirTran has been shown to lower fares on routes previously
served only by incumbent legacy carriers.”).
93
     United States v. US Airways Grp., Inc., 38 F. Supp. 3d 69, 73, 79, 82-83 (D.D.C. 2014).


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more likely prefer to leverage the capacity benefits provided by the Proposed Merger to continue

its successful business strategy on a greater scale”). With a bigger network and fleet, a bigger

JetBlue will invoke a broader competitive response from rivals that will benefit flyers across

routes. For example, JetBlue will more broadly cause legacy rivals to rethink and revoke

systemwide or regional price increases; 94 reduce their ancillary fees; 95 improve the quality of their

airline offering across routes; 96 and improve other aspects of their business, such as their loyalty

offerings, in competition with a more robust JetBlue. 97 The broader JetBlue’s network is, the more

attractive it is for a consumer on any route to choose to be part of JetBlue’s frequent flier program,

rather than the program of a rival program, because the benefits of that program are more useful.

And that means, at any given JetBlue price, rival airlines will have to discount more to win business

from JetBlue, making every single JetBlue route more competitive, even for customers that are not

a member of a frequent flyer program. Moreover, if JetBlue enters a new route, that route will

become more competitive and so less profitable for other airlines. One of those airlines may

therefore choose to exit that route and, if as the Government claims prices go up on an overlap

route between Spirit and JetBlue, the fact that a rival airline now has extra aircraft, ready to be

deployed, makes it more likely to enter. Contrary to the Government’s suggestion, Defendants

have no duty to specifically quantify all of these benefits at a route level or trace them back directly

to the routes where the Government claims harm. See, e.g., Deutsche Telecom, 439 F. Supp. 3d at

238 (“It is already difficult to assess the competitive effects of a merger in such a rapidly changing




94
     NEA Pls. Proposed FoF ¶ 21
95
     NEA Pls. Proposed FoF ¶ 39.
96
     NEA Pls. Proposed FoF ¶ ¶¶ 36–41.
97
     See supra note 12 and accompanying text.


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industry; asking the Court to [precisely trace harms and benefits] only compounds the necessarily

speculative quality of this inquiry.”).

           In addition, as explained above, there are few meaningful barriers to entry that would

prevent other airlines from entering a route if JetBlue were to try to raise fares or lower capacity.

Airlines routinely enter and exit routes, add frequencies, swap aircraft types, and retime flights to

try to best take advantage of opportunities presented to them. Consistent with the fluidity of

capacity in the airline industry, ULCCs have testified that they are eagerly watching this merger

because they view entry or expansion on Spirit’s routes as low-risk, “proven” opportunities. 98

Where there are low entry barriers and competitors have a demonstrated ability to move capacity,

there is no substantial likelihood of unilateral effects. See, e.g., Syufy, 903 F.2d at 666–67.

           Finally, the Government apparently will spend a considerable amount of the Court’s time

and resources at trial on the dead-end issue of “fleet rationalization”—having designated three fact

witnesses and an expert to talk about this—to try to show that JetBlue’s financial deal modeling

was based on fewer planes than Spirit had in its then-existing 2022 financial plan. This argument

never had any validity because JetBlue’s deal modeling is not a business plan, nor JetBlue’s future

plans to run the merged airline. But more fundamentally, Spirit itself deferred a large portion of

the planes that it had set for delivery because of its current financial condition and other

considerations. 99 JetBlue’s deal modeling now assumes many more aircraft through 2026 (the

last year of the deal modeling) compared to Spirit’s current aircraft orders, refuting any idea that

JetBlue has modeled fewer planes than Spirit would acquire or lease on a standalone basis (and,

thus, plans to “rationalize”).


98
     Biffle (Frontier) Tr. 166:4-12.
99
  See Ex. TZ [B6NK-TX-00001959] (Q2 2023 Spirit Earnings Call Transcript), at 7 (Ted Christie discussing
operating margins).


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           In this fast-moving industry, there will be no evidence that JetBlue will be able to control

pricing and capacity on a handful of routes. The Government will not be able to show that the

transaction will lead to adverse unilateral effects.

      C. The Merger Will Decrease, Not Increase, the Likelihood of Industry Coordination

         In a Section 7 case, coordinated effects arise where, because of the merger, “firms will be

able to coordinate their behavior, either by overt collusion or implicit understanding, in order to

restrict output and achieve profits above competitive levels.” Deutsche Telekom, 439 F. Supp. 3d

at 234 (quoting FTC v. PPG Indus., Inc., 798 F.2d 1500, 1503 (D.C. Cir. 1986)). The Government

must prove the relevant market “shows signs of vulnerability to coordinated conduct” and present

“a credible basis on which to conclude that the merger may enhance that vulnerability.” Id.

(quoting Guidelines § 7.1); FTC v. Arch Coal, Inc., 329 F. Supp. 2d 109, 138 (D.D.C. 2004)

(explaining that even where industry “factors and conditions make post-merger coordinated

activity . . . feasible, whether anticompetitive coordination is likely requires closer examination”

of various other factors, including “the [relevant] market structure and dynamics” (emphasis

added)).

         Here, even if the Government can show a vulnerability to coordinated conduct in the airline

industry, it cannot show the merger will “enhance” that vulnerability. JetBlue has built its business

on being a disruptor, not a coordinator, and a bigger JetBlue would expand that disruptive effect.

Indeed, just last year, the Government argued that JetBlue mitigated the effects of coordination by

the legacy airlines by acting as a maverick in the industry. 100 And the Court agreed:


100
   NEA Plaintiffs’ Pre-Trial Brief, United States v. Am. Airlines Grp. Inc. at 8, No. 1:21-cv-11558 (D. Mass.) (Sep.
9, 2022) ECF No. 160, at 7 (JetBlue’s uniquely disruptive offerings “served as the legacy airlines’ foil in the
northeastern United States” for “more than two decades.”); id. at 9 (“JetBlue’s business model succeeded. While AA
and its fellow legacy airlines sought to restrict capacity growth and raise fares, JetBlue introduced new capacity and
lowered fares.”); NEA Pls. Proposed FoF at 113 (explaining “JetBlue mitigated the effects of capacity discipline” by
other airlines by growing its capacity)


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           The parties all agree, and the Court finds, that JetBlue has played a unique role in
           the domestic air travel industry and qualifies as a ‘maverick’ competitor for present
           purposes. The Court finds JetBlue occupied such a role regardless of whether it
           remained an LCC or had migrated to a hybrid form somewhere between a
           traditional LCC and a GNC. In either event, it was justifiably viewed by others—
           and it indisputably viewed itself—as a unique and disruptive force in the domestic
           air travel market. 101

           The evidence on which the Government will rely to try to prop up its coordination theory—

a handful of pricing actions that occurred at the onset of the COVID-19 pandemic and the

unsubstantiated opinion of a Spirit employee—is misleading, stale, and belied by the

Government’s contrary position in the NEA Case. 102 It also reflects an infinitesimal percentage

of pricing actions. As explained by Michael Hillyard, Pricing Manager for JetBlue’s Revenue

Management Team, out of the “hundreds of thousands, if not millions, of fares” filed by JetBlue,

strategies such as “flashing and cross-market initiatives make up close to zero percent of

[JetBlue’s] actions.” 103 Indeed, approximately 14 million fare changes are processed every day. 104

In 2022 alone, over 4.5 billion fare changes were processed. 105 See, e.g., FTC v. RAG-Stiftung,

436 F. Supp. 3d 278, 317 (D.D.C. 2020) (rejecting FTC’s argument that a “few instances” of

apparent coordination supported § 7 injunction where “those decisions also reflected legitimate

business considerations”).


101
    United States v. Am. Airlines Grp. Inc., No. 21-11558, 2023 WL 3560430, at *34 n.81 (D. Mass. May 19, 2023)
(citations omitted). The Court’s finding also refutes the Government’s suggestion that evolution of JetBlue’s
business model makes coordination more likely. See Am. Compl. ¶ 45. As the Court found, regardless of how you
characterize JetBlue’s model, it is indisputably a disruptor.
102
   See supra note 101 and accompanying text; Hill Rep’t § 9 (explaining and refuting the Government’s purported
evidence of coordination).
103
   Hillyard (JetBlue) Dep. Tr. 212:18-23, 225:16-19; see also id. at 203:20-21 (“I have never observed JetBlue
flashing a fare to signal other airlines.”); Johns (JetBlue) Dep. Tr. 70:6-8 (“Our pricing decisions are made on a
route-by-route basis and independently using our own internal data.”); Weiner (JetBlue) Dep. Tr. 279:23-280:1
(“We take fare actions because we think they’re in the best interest of generating a better revenue result for
JetBlue.”).
104
   Press Kit, ATPCO (accessed Oct. 10, 2023) [link] (309 million fares on ATPCO, database, 14 million changes
processed daily, 4.5 billion+ fare changes processed in 2022).
105
      Press Kit, ATPCO (accessed Oct. 10, 2023) [link].


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           At bottom, the Government’s coordinated effects theory rests on unfounded speculation

that an increase in JetBlue’s size will transform JetBlue from disruptor to conspirator. Tellingly,

the Government’s expert testified that even organic growth by JetBlue would make it more likely

to coordinate. 106 But courts have consistently recognized an increase in size alone is not a basis

for finding coordinated effects.            See, e.g., Deutsche Telekom, 439 F. Supp. 3d at 245

(“Anticompetitive results such as higher prices and lower quality produced by coordinated or

unilateral effects of a merger do not just ‘happen’; they are not self-executing outcomes

spontaneously set in motion upon the creation of a presumed level of market concentration of

fewer competitors, or the large market shares amassed by particular participants.”); RAG-Stiftung,

436 F. Supp. 3d at 317 (explaining that a reduction in the number of competitors is not enough;

Section 7 plaintiffs “must have an independent basis to conclude that a merger will increase the

likelihood of coordination, apart from whatever evidence it offers to show undue market

concentration”). Otherwise, virtually every merger of competitors, which by definition involves

an increase in size, would be illegal under the Government’s theory. Moreover, the Government

itself has sought to promote JetBlue’s growth as an antidote to perceived coordination among the

legacy airlines. 107 In any event, such a finding would be particularly implausible here, where

JetBlue’s growth through the transaction is modest—gaining just 4% market share on a revenue

basis. Significantly, asymmetries between JetBlue and the legacies—in particular, differences in

network size and architecture—will continue to persist and provide ample incentive for JetBlue to

continue what it has always done: compete hard to win the business of the traveling public.




106
      See Gowrisankaran Dep. Tr. 265:18–266:4.
  Competitive Impact Statement at 5, United States of America v. U.S. Airways Group, Inc., No. 13-cv-01236-
107

CKK (Nov. 12, 2013), ECF No. 148.


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                                         CONCLUSION

       For the foregoing reasons, the Government cannot meet its prima facie burden of showing

the merger is likely to result in substantial harm. Even if they could, the lack of barriers to entry

and expansion, the national and fluid nature of competition, Defendants’ divestiture commitments,

and the pro-competitive benefits of the merger require a finding in Defendants’ favor.



Dated: October 10, 2023                       Respectfully submitted,

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